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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SA CV 16-00771-ODW(SKx)                                         Date   January 17, 2018
 Title             Trowbridge Sidoti LLP v. Kim Lisa Taylor et al




 Present: The                    Otis D. Wright II, United States District Judge
 Honorable
                       Sheila English                                         Terri Hourigan
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                     Gordon E Gray , III                                    Robert Peter Weiss
                                                                            Craig A Gelfound
 Proceedings:             MOTIONS IN LIMINE
         Case called, appearances made. The Court gave tentative rulings on the motions in limine,
with a caution that these were tentative. In addition, the court heard argument from defense counsel as
stated on the record. The Court assured counsel that if the issues addressed in the MILs arise at trial the
court will entertain further argument at that time.

         Plaintiffs’:
         -MOTION IN LIMINE (#1) to Exclude Summary Judgment [74]-GRANT
         -MOTION IN LIMINE (#2) to Exclude certain allegations as to Gene Trowbridge[75]-GRANT

         Defendants’:
         -MOTION IN LIMINE (#2) to Exclude That Plaintiff Trowbridge Sidoti LLP is
         successor-in-interest [78][83]-DENY

         -MOTION IN LIMINE (#3) to Exclude that Defendant Kim Lisa Taylor acquired
         SyndicationLawyer.com [79][84]- DENY

         -MOTION IN LIMINE (#4) to Exclude that Plaintiff has lost clients, lost business, or has
         suffered any other economic damages [80][85]-Reserve ruling

         -MOTION IN LIMINE (#1) to Exclude Evidence filed by Defendants and Counterclaimants
          [82]-Reserve ruling

        Counsel shall file a revised statement in paragraph 5 in the pretrial conference order and file it no
later than February 13, 2018.
                                                                                                  :     47
                                                               Initials of Preparer          se

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